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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

                                                       )
 CHRISTOPHER THORNTON and                              )
 PATRICK DUNN,                                         )                     CIVIL ACTION NO.
           Plaintiffs,                                 )
                                                       )                  2:17-cv-00082-WHA-CSC
 v.
                                                       )
 STARBUCKS CORPORATION,                                )
           Defendant.                                  )
                                                       )

                            JOINT STIPULATION OF DISMISSAL

         COMES NOW the Plaintiffs, Christopher Thornton and Patrick Dunn (“Plaintiffs”), and

Defendant, Starbucks Corporation (“Defendant”), by and through their and its undersigned

counsel, and pursuant to Rule 41(a)(1)(A)(ii) Fed. R. Civ. P., and hereby respectfully request the

Court dismiss this matter with prejudice, with each party to bear their or its own attorneys’ fees

and costs. All Parties jointly stipulate to the dismissal of this action, thereby concluding the matter

in its entirety.

       Respectfully Submitted, this the 22nd Day of January 2018.


      /s/ Cassie E. Taylor                                 /s/ Rachel V. Barlotta (with express permission)
      Cassie E. Taylor                                     Rachel V. Barlotta
      The ADA Group, LLC                                   Baker, Donelson, Bearman, Caldwell &
      4001 Carmichael Road, Suite 570                      Berkowitz, P.C.
      P.O. Box 6429 (36106)                                420 20th Street North, Suite 1400
      Montgomery, AL 36116                                 Birmingham, Alabama 35203
      Counsel for Plaintiffs                               Counsel for Defendant




                                                 [1]
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                               CERTIFICATE OF SERVICE

       This is to certify that I have this day filed with the Clerk of Court the aforementioned

document for service of process by USPS mail or electronic mail, postage prepaid and properly

addressed this 22nd day of January 2018 to the following:

Rachel V. Barlotta
Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C.
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Counsel for Defendant



                                            /s/ Cassie E. Taylor
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                                              [2]
